                                Case 1:11-cv-00798-CFL Document   7 Filed 03/30/12 Page 1 of 4

                                                                                                                                   t
                                                            i i..ra r. t., Fl

                                                                                                                   :l     'l   F


                           lJntW @nite! btutts @ourt of /elersl @[afms
                                                                                                           No. I l-798C

                                                                                             (Filed: March 30,2012)
                                                                                                                                          FILED
                                                                                        (NOT TO BE PUBLISHED)                           MAR 3   0   2012

                                                                                                                                        U.S. COUHT OF
*   {. :t 1.   * i! :* * * * * * *      :1.   r.   *   :} {.   *   :i   * * * * * * * * * * * * * )t
                                                                                                                                       FEDERALCLAIMSI

JESSE                  R McNUTT,
                                                               Plaintiff,

                      v.

UNITED STATES,

                                                               Defendant.

****           r,   *'t * !N'* :* :l * * r. :t( :t * :* *,t               rr   * *,t'1.'|! * * ;i * {.'*   *

                      Jesse R. McNutt,                                  pro se, Munay, Kentucky.

       Michelle R. Milberg, Trial Attomey, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for defendant. With her on the briefs
were Tony West, Assistant Attomey General, and Jeanne E. Davidson, Director, and Donald E.
Kinner, Assistant Director, Commercial Litigation Branch, Civil Division, United States
Department of Justice, Washington, D.C.

                                                                                             OPINION AND ORDER

LETTOW, Judge.

        Jesse McNutt seeks damages and equitable relieffrom the United States ("the
government") for alleged improprieties in his criminal trial before a United States district court.
The govemment has moved to dismiss plaintiff s complaint for lack of subject matter jurisdiction
and for failure to state a claim upon which relief can be granted.

                                                                                                    BACKGROUNDI

        This case stems from a prior criminal conviction of Mr. McNutt in the United States
District Court for the Westem District of Kentucky. In 2006, Mr. McNutt was found guilty of

                      I -fhe
              recitations that follow do not constitute findings of fact by the court. Instead, the
recited factual elements are taken liom the complaint and the parties' filings and are either
undisputed or are alleged and assumed to be true.
             Case 1:11-cv-00798-CFL Document 7 Filed 03/30/12 Page 2 of 4



possessing an unregistered destructive device in violation of26 U.S.C. $ 5861(d). See Judgment,
 United States v. McNutt, No. 5:03CR-29-R (W. D. Ky. Apr. 27,2006), ECF No. 203, at2. He
was sentenced to 4l months in prison and fined $7,500. Id. at 3, 5. In the present lawsuit,
Mr. McNutt seeks monetary and equitable relief for alleged defects in these criminal
proceedings. First, Mr. McNutt argues that the district court lacked personal jurisdiction over
him. Compl. at 2. Second, he avers that the United States District Court for the Westem District
of Kentucky was an improper venue for his trial. Id. Third, he claims that he was denied the
assistance of counsel in violation of the Sixth Amendment. Id. at2-3, Lastly, Mr. McNutt
alleges that the trial began too soon after his first appearance, contravening the Speedy Trial Act
as codihed at I 8 U.S.C. $ 3l6l (c)(2). Compl. at 3. Mr. McNutt alleges that these procedural
errors resulted in his "suffering, false imprisonment, false anest, [and] denial ofdue process."
Id. at4. For these purported wrongs he seeks $400,000 in damages. /d

                                 STANDARD FOR DECISION

        A "court must satisfy itselfthat it hasjurisdiction to hear and decide a case before
proceeding to the merits." Hardie v. United States,367 F.3d 1288, 1290 (Fed. Cir. 2004)
(intemal quotation marks omitted) (quoting PIN/NIP, Inc. v. Platte Chem. Co.,304 F.3d 1235,
 1241 (Fed. Cir.2002)). In addressing a motion to dismiss for lack of subject matter jurisdiction,
the court will "normally consider the facts alleged in the complaint as true and conect."
Reynolds v. Army & Air Force Exch. Serv., 846 F ,2d 7 46,747 (Fed. Cir. 1988) (citing Scheuer v.
Rhodes,416U.5.232,236 (1974)). The burden of establishing the court's jurisdiction resides
with the party seeking to invoke it, McNutt v. General Motors Acceptance Corp. of lnd.,298
U.S. 178, 189 (1936), and this burden is not satisfied until proven by a preponderance ofthe
evidence. Reynolds,846 F.2d at 748.

         Mr. McNutt has appeared pro se, and the submissions of such litigants are traditionally
held to "less stringent standards than formal pleadings drafted by lawyers." Estelle v. Gamble,
429 U. S. 97 , 106 (197 6) (qu,oting Haines v. Kerner,404 U. S. 519, 520 (1972) (per curiam)).
"This latitude, however, does not relieve a pro se plaintiff from meeting jurisdictional
requirements." Bernard v. United States,59 Fed. Cl. 497,499, aff'd,98 Fed. Appx. 860 (Fed.
Cir.2004); see also Henke v. United States,60 F.3d 795,799 (Fed. Cir. 1995). Thusaprose
plaintiff, like any other, "bears the burden ofestablishing the [c]ourt's jurisdiction by a
preponderance of the evidence." Riles v. United States,93 Fed. Cl. 163, 165 (2010) (citing
Taylor v. United States,303 F.3d 1357, 1359 (Fed. Cir. 2002)).

         The Tucker Act grants this court 'Jurisdiction to renderjudgment upon any claim against
the United States fbunded either upon the Constitution, or any Act ofCongress or any regulation
ofan executive department, or upon any express or implied contract with the United States, or
for liquidated or unliquidated damages in cases not sounding in tort." 28 U.S.C. $ lagl(a)(l).
The Tucker Act does not itselfcreate a substantive right to monetary relief from this court,
rather, it is ajurisdictional statute. United States v. Testan,424 U.S. 392,398 (1976); see
Martinez v. United States,333 F.3d 1295,1302-03 (Fed. Cir. 2003) (en banc). "A substantive
right must be found in some other source of law." United States v. Mitchell,463 U.S. 206,216
(1983). In essence, the Tucker Act serves to waive the govemment's sovereign immunity with
respect to claims deriving from some money-mandating source of law. Id. As a result, to
complete the requisite jurisdictional predicates in this court under the Tucker Act, the plaintiff
             Case 1:11-cv-00798-CFL Document 7 Filed 03/30/12 Page 3 of 4



must point to an independent, substantive source of law that mandates payment from the United
States for the injury suffered. That showing of a money-mandating source of law must be
coupled with a non-frivolous assertion that the plaintiff"is within the class ofplaintiffs entitled
to recover under the [money-mandating] statute." Jan's Helicopter Serv., Inc. v. Federal
Aviation Admin., 525 F.3d 1299,1307 n.8 (Fed. Cir. 2008) (quotation marks omitted) (quoting
Greenlee Cnty., Arizona v. United States,987 F.3d 871,876 (Fed. Cir. 2007)).

                                           ANALYSIS

        Mr. McNutt bases his claim for compensation on a variety of legal theories. An
examination ofthese disparate claims reveals that this court lacks subject matter jurisdiction over
any of them.

         Mr. McNutt seeks punitive damages for "suffering, false imprisonment, [and] false
anest." Compl. at 4. These are all quintessential tort claims. See, e.g., White v. United States,
101 Fed. Cl.673,675 (2011) ("Plaintiffs claim for damages for pain and suffering sounds in
tort."); Leitner v. United States,92 Fed. Cl. 220,224 (2010) ("False imprisonment is a tort.");
Dumonde v. United Stqtes,87 Fed. Cl. 651, 653 (2009) ("Plaintiffs claims of false arrest . . . are
tort claims."). The Court of Federal Claims does not have jurisdiction over cases sounding in
tort.28U.S.C.$l49l(a)(1);seealso,e.9.,Brownv.UnitedStates,105F.3d621,623 (Fed. Cir.
1997). Consequently, the court must dismiss these claims for lack of subject matter jurisdiction.

       Mr. McNutt also maintains that the govemment has violated the Fifth Amendment's due
process clause and the Sixth Amendment's guarantee oflegal representation. As discussed
supra, plaintiff cannot establish jurisdiction by simply alleging any constitutional violation; he
must identify a money-mandating provision of the Constitution that the govemment has
purportedly contravened. Ferreiro v. United States,50l F.3d 1349,1351-52 (Fed. Cir. 2007)
(citing Fisher v. United States,402F.3d 1167,1173 (Fed. Cir. 2005) (en banc in relevant part)).
It is well established that the due process clause of the Fifth Amendment is not money-
mandating. See, e.g.,lnre United States,463F.3d 1328, 1335 n.5 (Fed. Cir.2006) ("[B]ecause
the Due Process Clause is not money-mandating, it may not provide the basis forjurisdiction
under the Tucker Act."); LeBlanc v. United States,5O F.3d 1025, 1028 (Fed. Cir. 1995). Nor
does the Sixth Amendment mandate compensation for contravention of its provisions. Treece v.
United States,96 Fed. Cl. 226,231 (2010) (citing Milas v. United States,42Fed. CI.704,710
(1999), aff'd,217 F .3d 854 (Fed. Cir. I 999) (unpublished table opinion)). Because rhe
constitutional provisions invoked by Mr. McNutt are not money-mandating sources of law, the
court lacks jurisdiction over his constitutional claims.

         Related to Mr. McNutt's due process argument is his third set of claims, which concem
alleged defects in the conduct of his criminal trial. Specifically, Mr. McNutt avers that (l) the
district court lacked personal jurisdiction over him, (2) venue was improper, and (3) he was not
given 30 days to prepare for trial as required by the Speedy Trial Act. Insofar as these claims
overlap with his allegations ofdenial ofdue process, they fail because Mr. McCann has not
identified a money-mandating constitutional provision or statute.2 Moreover, all ofthese alleged


       'Nothing in the Speedy Trial Act suggests that a violation of its provisions would
mandate payment to a criminal defendant in the circumstances alleged to be present here. The
             Case 1:11-cv-00798-CFL Document 7 Filed 03/30/12 Page 4 of 4




 improprieties were part and parcel of the criminal proceedings involving Mr. McNutt. "The
 Court of Federal Claims does not have the power . . . to review in detail the facts surrounding a
 conviction or imprisonment;' Zakiya v. United States,79 Fed. Cl. 231,234-35 (2007), aff'd,277
 Fed. Appx. 985 (Fed. Cir. 2008) (per curiam); see also Joshua v. United States, 17 F .3d 378,379
 (Fed. Cir. 1994) ("The court has no jurisdiction to adj udicate any claims whatsoever under the
 federal criminal code."). This court does not sit as a quasi-appellate tribunal to review a district
 court's proceedings. Vereda, Ltda. v. United Stares,2Tl F.3d 1367,1375 (Fed. Cir. 2001) ("The
 Court ofFederal Claims does not have jurisdiction to review the decisions ofdistrict courts."
 (intemal quotation marks omitted) (quoting Joshua, l7 F.3d at 380); see also Beach v, United
 States,68 Fed. Cl. 289, 295 (2005) (finding that the court lacked subject matter jurisdiction over
 plaintiffs' claims that a district court lacked personal jurisdiction over them). The proper forum
 for resolving these issues was the trial court in which they arose, or in the appellate court that
 reviews the trial court's decisions. Cf., t 5., United States v. Rojas-Contreras, 474 U.5. 231,
 233-34 (1985) (discussing a defendant's attempts to vindicate his rights under the Speedy Trial
 Act before the trial court, the appellate court, and finally the Supreme Court). Consequently,
these claims, like the others alleged in Mr. McNutt's complaint, fail for lack of subject matter
jurisdiction.

                                          CONCLUSION

         For the reasons stated, the govemment's motion to dismiss is GRANTED, and the case
 shall be dismissed without prejudice for lack of subject matler jurisdiction. The Clerk shall enter
j udgment accordingly. No costs.


       It is so ORDERED.




Act provides for various remedies iftrial is unduly defened, see l8 U.S.C. $ 3162, but it does
not specify a remedy if the trial commences too soon. In that respect, courts typically have
considered whether to order a new trial . See United States v. Wright,797 F .2d 17l, 176 (4th Cir.
1986); Unired Srares v. Daly, 716 F.2d 1499, 1506 (9th Cir. 1983).
